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CO-386
10/2018
United States District Court
For the District of Columbia
The American Hospital Association, )
et al. )
)
a )
Vs Plaintiff Civil Action No.
Alex M. Azar II
)
)
Defendant  )
CERTIFICATE RULE LCvR 26.1
I, the undersigned, counsel of record for York Hospital certify that to the best of my knowledge and
belief, the following are parent companies, subsidiaries or affiliates of YOrk Hospital which have

 

any outstanding securities in the hands of the public:

None.

These representations are made in order that judges of this court may determine the need for recusal.

Lhdwee of Record.

D.C. Bar No. 453221 Catherine E. Stetson
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